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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  COMMITTEE ON OVERSIGHT AND
    REFORM, UNITED STATES HOUSE
    OF REPRESENTATIVES,

                                Plaintiff,

         v.                                                No. 19-cv-3557 (RDM)

  WILLIAM P. BARR, in his official capacity
    as Attorney General of the United
    States, et al.,

                                Defendants.



                                              NOTICE

       Plaintiff the Committee on Oversight and Reform respectfully submits this notice to

update the Court about the status of this case. On January 13, 2021, Chairwoman Maloney

reissued the subpoenas at issue in this case pursuant to her authority under House Rule II.8(c)

(117th Cong.) (“the chair of a committee authorized during a prior Congress to act

in a litigation matter is authorized to act as the successor in interest … and to take such steps as

may be appropriate, including, but not limited to, the issuance of subpoenas, to ensure

continuation of such litigation matter”). Defendants did not comply with the subpoenas before

President Biden took office on January 20.

       Following the change in Administrations, the parties have resumed discussions about a

possible accommodation in this case. We will notify the Court if the parties are able to reach an

accommodation. Pursuant to the Court’s order of October 15, 2020, the parties will file a joint

status report no later than ten days after the D.C. Circuit issues a decision in Committee on the

Judiciary v. McGahn, No. 19-5331 (D.C. Cir.) (oral argument scheduled for April 27, 2021).
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February 26, 2021




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